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Attorney for Debtors


                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF NEW JERSEY


 In Re:                                     Case No. 06-19993 (MBK)

 WILLIAM MARTIN TREMBULAK,                  Chapter 7 Bankruptcy

                                            CERTIFICATION OF WILLIAM H.
                                            OLIVER JR., ESQ. IN OPPOSITION TO
                                  Debtor.   CASE CLOSING WITHOUT DISCHARGE



      WILLIAM H. OLIVER, JR., hereby certify that the following is true:
      1.     I am the attorney representing the debtor, William Martin Trembulak, and
             make this Certification in Opposition to the Notice of Case Closing
             Without Discharge.
      2.     The debtor recently passed away on November 16, 2006. I am attaching a
             copy of the Appointment of Administrator being the debtor’s brother,
             Alan G. Trembulak. He will be testifying at the 341 hearing which has
             been scheduled for February 2, 2007 at 9:00 am.
      3.     In the meantime, we are entering this opposition to the closure of the case
             without the discharge based upon the debtor’s death.
      4.     Due to the foregoing, it is respectfully requested that this case not be
             closed without the discharge until such time as this case can be deemed
             completed and thus discharged.
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      I hereby certify that the foregoing statements made by me are true. I am aware
that if any of the foregoing statements made by me are false, I am subject to punishment
by the Court.
Dated: January 11, 2007
                                      /s/William H. Oliver, Jr.
                                      WILLIAM H. OLIVER, JR.
                                      Attorney for Debtor, William M. Trembulak
